                  Case 23-30944               Doc 12-1           Filed 12/21/23         Entered 12/21/23 15:14:51                    Page 1 of 1

 Fill in this information to identify your case:

  Debtor 1                  HEATHER                ANN               O'BRIEN TRECIOKAS
                            First Name             Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name      Last Name

  United States Bankruptcy Court for the:                         District of Connecticut

  Case number                    23-30944 (AMN)                                                                                     ✔ Check if this is an
                                                                                                                                    ❑
  (if known)                                                                                                                             amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                              . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                        Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘
        HEATHER O'BRIEN TRECIOKAS, Debtor 1


        Date 12/20/2023
                 MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
